Case 3:14-cv-07770-ZNQ-JBD        Document 191-1   Filed 04/18/19   Page 1 of 4 PageID:
                                         7498



 Aubrey D. (Nick) Pittman (pro hac vice)    Karen A. Confoy
 THE PITTMAN LAW FIRM, P.C.                 Christopher R. Kinkade
 100 Crescent Court, Suite 700              Nancy E. Halpern
 Dallas, Texas 75201                        Allison L. Hollows
 Valerie Yanaros Wilde (pro hac vice)       FOX ROTHSCHILD LLP
 YANAROS LAW, P.C.                          Princeton Pike Corporate Center
 5057 Keller Springs Road Suite 300         997 Lenox Drive
 Addison, Texas 75001                       Lawrenceville NJ 08648
                                            Telephone: (609) 896-3600
 J. Manuel Torres-Rodriguez (pro hac vice)  Facsimile: (609) 896-1469
 J. MANUEL TORRES-RODRIGUEZ JD, CPA
 4322 Walnut Hill Lane, Suite 1            Attorneys for America Can! Cars for Kids
 Dallas, Texas 75229

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  KARS 4 KIDS INC.,                          Case No. 3:14-cv-07770-PGS-LHG

                     Plaintiff,

        v.

  AMERICA CAN!,

                     Defendant.

  AMERICA CAN! Cars for Kids,                Case No. 3:16-cv-04232-PGS-LHG

                     Plaintiff,

        v.

  KARS 4 KIDS INC.,

                     Defendant.


      AMERICA CAN! CARS FOR KIDS’ STATEMENT OF THE CASE
Case 3:14-cv-07770-ZNQ-JBD        Document 191-1    Filed 04/18/19    Page 2 of 4 PageID:
                                         7499



       America Can! Cars for Kids, pursuant to this Court’s April 10, 2019, Order

 submits the following as its proposed Statement of the Case:

                                      PROPOSAL

       During the parties’ Opening Statements and the course of the trial, you will

 hear more about the parties and their claims, but the Court would like to provide you

 with a brief overview of this case. It is a trademark infringement, trademark dilution

 and unfair competition case.

       A trademark is a term that signifies to the consumer the source of a product

 or the source of services. A trademark owner may exclude others from using its

 trademark or words that are so similar to its trademark that those marks are likely to

 cause confusion in the marketplace, or dilute the distinctiveness of the owner’s

 trademark. When a trademark is offered in the context of services, as is the case

 here, it is also referred to as a service mark.

       Here, each party is a plaintiff in their own case against the other and each party

 is a defendant in the other’s case. Both Kars (spelled with a “K”) 4 (numerical four)

 Kids and America Can! Cars (spelled with a “C”) for Kids are nonprofit

 organizations. Each organization, as part of its fundraising activities, solicits and

 receives used automobile donations, and auctions those vehicles as part of its

 fundraising activities. America Can! Cars for Kids uses the donations to fund charter

 schools that create and support educational programs for at risk youth of all faiths to



                                             2
Case 3:14-cv-07770-ZNQ-JBD       Document 191-1      Filed 04/18/19    Page 3 of 4 PageID:
                                        7500



 help those children obtain a high school diploma and to give them the tools needed

 to achieve economic independence regardless of religious affiliation or

 denomination. Kars 4 Kids Inc. alleges that it uses the revenues generated from those

 donations to give to another entity named Oorah Inc., who then uses the transfer to

 fund educational, developmental, and recreational programs for Jewish youth and

 their families.

       In this case, these two parties have claims against the other. Each party

 contends that it has a superior right to use certain trademarks in its advertising and

 in its solicitation of vehicle donations. The purpose of this trial is to resolve whether

 one party or the other has a superior right to use the marks in question, and, if so,

 whether the use of marks by the party with inferior right has caused damage to the

 other party.


 Dated: April 18, 2019                    Respectfully submitted,

                                          s/ Karen A. Confoy
                                          Karen A. Confoy
                                          Christopher R. Kinkade
                                          Nancy E. Halpern
                                          Allison L. Hollows
                                          FOX ROTHSCHILD LLP
                                          Princeton Pike Corporate Center
                                          997 Lenox Drive
                                          Lawrenceville NJ 08648-2311
                                          T: 609- 896-3600
                                          F: 609-896-1469
                                          kconfoy@foxrothschild.com
                                          ckinkade@foxrothschild.com

                                            3
Case 3:14-cv-07770-ZNQ-JBD   Document 191-1   Filed 04/18/19   Page 4 of 4 PageID:
                                    7501



                                    nhalpern@foxrothschild.com
                                    ahollows@foxrothschild.com

                                    Aubrey Nick Pittman (pro hac vice)
                                    THE PITTMAN LAW FIRM, P.C.
                                    100 Crescent Court, Suite 700
                                    Dallas, Texas 75201

                                    J. Manuel Torres-Rodriguez (pro hac vice)
                                    J.MANUEL TORRES-RODRIGUEZ JD,
                                    CPA
                                    4322 Walnut Hill Lane, Suite 1
                                    Dallas, Texas 75229

                                    Valerie Yanaros Wilde (pro hac vice)
                                    YANAROS LAW, P.C.
                                    5057 Keller Springs Road Suite 300
                                    Addison, Texas 75001




                                      4
